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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 Soren Stevenson,                                 Court File No. 20-cv-2007 (SRN/TNL)

              Plaintiff,

       v.                                              PROTECTIVE ORDER

 John Doe 1, acting in his individual
 capacity as a Minneapolis Police Officer;
 John Does 2-6, acting in their individual
 capacities as Minneapolis Police Officers;
 John Does 7-8, acting in their individual
 and official capacities as supervisory
 Minneapolis Police Officers; Medaria
 Arradondo, acting in his individual and
 official capacities as the Minneapolis
 Chief of Police; and the City of
 Minneapolis,

              Defendants.


      This matter comes before the Court on the parties’ Stipulation for a Protective

Order (“Stipulation”), ECF No. 32. Based upon the parties’ Stipulation and pursuant to

Fed. R. Civ. P. 26(c), IT IS HEREBY ORDERED that confidential information be

disclosed only in designated ways:

1.    Definitions. As used in this Protective Order:

      (a)    “attorney” means an attorney who has appeared in this action;

      (b)    “confidential document” means a document designated as confidential

             under this Protective Order;


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     (c)   to “destroy” electronically stored information means to delete from all

           databases, applications, and file systems so that the information is not

           accessible without the use of specialized tools or techniques typically used

           by a forensic expert;

     (d)   “document” means information disclosed or produced in discovery,

           including at a deposition;

     (e)   “notice” or “notify” means written notice;

     (f)   “party” means a party to this action; and

     (g)   “protected document” means a document protected by a privilege or the

           work-product doctrine.

2.   Designating a Document or Deposition as Confidential.

     (a)   A party or non-party disclosing or producing a document may designate it

           as confidential if the party or non-party contends that it contains

           confidential or proprietary information, which includes but is not limited to

           medical, and financial, or “not public data” under the Minnesota

           Government Data Practices Act (“MGDPA”) (see definition of “not public

           data” in Minn. Stat. § 13.02, subd. 8a), including Minneapolis Police

           Department personnel files, internal affairs records, civilian review

           authority records, office of police conduct review records, police reports

           and statements, and body worn camera video footage.



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(b)   A party or non-party may designate a document as confidential by

      conspicuously marking each page with the word “confidential.”

(c)   All extracts and summaries of documents designated confidential shall be

      treated as protected in accordance with the provisions of this Protective

      Order.

(d)   The following private personnel data on government employees will not be

      produced in this action without a specific court order or agreement by the

      parties: home addresses, home telephone numbers, drivers’ license numbers,

      medical and psychological data, dates of birth, Social Security numbers, and

      any information relating to employees’ family members or familial

      relationships. Defendants do not waive any Minnesota Government Data

      Practices Act objections to the production of any other private personnel data

      not specified above. See Minn. Stat. § 13.43.

(e)   If properly requested through discovery, Plaintiff agrees to execute any

      necessary releases for Defendants to obtain relevant documents and

      information, including but not limited to, medical records, employment

      records, income tax records, and cell-phone records, directly from the

      appropriate entity that has possession of the documents and information.

      Such documents will be treated as confidential by the recipient and shall be

      so marked upon production to Plaintiff. The parties do not waive any

      objections to providing a release requested in discovery.

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     (f)   Deposition testimony may be designated as confidential:

           (1)       on the record at the deposition; or

           (2)       after the deposition, by notifying the parties and those who were

           present at the deposition within 30 days of the transcript being made

           available. All persons with copies of the deposition transcript shall then

           mark the confidential portions of the deposition as confidential. Until the

           30-day period has expired, all deposition testimony and transcripts shall be

           treated as confidential.

     (g)   If a witness is expected to testify as to confidential or proprietary

           information, a party or non-party may request that the witness’s deposition

           be taken in the presence of only those persons entitled to receive

           confidential documents.

3.   Who May Receive a Confidential Document.

     (a)   A confidential document may be used only in this action. It is expressly

           agreed that confidential documents received in the course of this action may

           not be used for any purpose or advantage other than the above-captioned

           action.

     (b)   No person receiving a confidential document may reveal it or disclose the

           contents of that document, except to:

           (1)       the court and its staff;



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    (2)   an attorney or an attorney’s partner, associate, or staff, who is

          assisting in the above-captioned action;

    (3)   a person shown on the face of the confidential document to have

          authored or received it;

    (4)   a court reporter or videographer retained in connection with any

          deposition in this action;

    (5)   a party;

    (6)   employees, agents, or volunteers of the Minneapolis City Attorney’s

          Office, who are assisting in the above-entitled action;

    (7)   elected or appointed officials, management-level employees of the

          City of Minneapolis, and any other employee of the City of

          Minneapolis required to obtain or facilitate settlement authority; and

    (8)   any person who:

          (A)    is retained to assist a party or attorney with the above-entitled

                 action; and

          (B)    signs a declaration that contains the person’s name, address,

                 employer, and title, and that is in substantially this form:

                        I have read, and agree to be bound by, the Protective
                 Order in the case captioned Soren Stevenson v. John Doe 1 et
                 al., Case No. 20-cv-2007 (SRN/TNL), in the United States
                 District Court for the District of Minnesota. As soon as my
                 work in connection with that action has ended, but not later
                 than 30 days after the termination of that action (including
                 any appeals), I will return or destroy any confidential
                 document that I received, any copy of or excerpt from a
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                    confidential document, and any notes or other document that
                    contains information from a confidential document.
                           I declare under penalty of perjury that the foregoing is
                    true and correct.

             The name and case number may be removed from this declaration
             and the Protective Order in the case of mock jury members who are
             retained to help evaluate the case.

      (9)   A party may supplement the “confidential” mark (see paragraph 3)

            with the words “attorney’s eyes only” for information, documents or

            portions of documents that they believe in good faith are extremely

            sensitive such that disclosure to another party would create a

            substantial risk of harm that could not be avoided by less restrictive

            means, including information or documents that would, by disclosure

            to another party, compromise an ongoing criminal investigation. In

            such a case, the confidential information or document so designated

             as “attorney’s eyes only” may not be revealed to another party, unless

             that party is a person described in paragraph 3(b)(7). The parties do

             not waive the right to challenge the appropriateness of information or

             documents designated as “attorney’s eyes only.”

(c)   If a confidential document is revealed to someone not entitled to receive it,

      the parties must make reasonable efforts to retrieve it and notify the

      producing party.




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4.   Subpoenas.

     (a)   A party serving a subpoena on a non-party must simultaneously (1) notify

           the opposing party and (2) serve a copy of this Protective Order and Local

           Rule 5.6 on the subpoena recipient.

     (b)   If a party receives a subpoena or other court process that arguably calls for

           the production of confidential documents, that party shall give the other party

           written notice of the subpoena or court process and at least 10 days’ notice

           before producing any such confidential documents.

     (c)   A party serving a subpoena on a non-party must produce any documents

           received pursuant to the subpoena to the opposing party within 10 business

           days.

5.   Correcting an Error in Designation.

     (a)   A party or non-party who discloses or produces a confidential document not

           designated as confidential may, within 7 days after discovering the error,

           provide notice of the error and produce a copy of the document designated

           as confidential.

     (b)   Any party receiving such improperly-designated documents shall make

           reasonable efforts to retrieve any copies they have distributed of such

           documents and, upon receipt of the substitute documents, shall return or

           destroy the improperly-designated documents.



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6.   Use of a Confidential Document in Court or Deposition.

     (a)   Filing.   This Protective Order does not authorize the filing of any

           document under seal. The sealing of entire pleadings, memoranda of

           law, exhibits, and the like is strongly discouraged. No document shall be

           filed under seal unless such document or information therein is

           genuinely confidential and/or there are compelling reasons to do so. Any

           party seeking to file a document under seal shall specifically review each

           document and the information therein to limit sealing only to the extent

           necessary. If confidential documents, including confidential portions of

           deposition transcripts, are to be included in any papers to be filed in the

           Court, the parties shall either (1) redact the confidential information from the

           document before filing; or (2) if the confidential information is necessary to

           the filing then to file the document under temporary seal and follow the

           procedure in Local Rule 5.6. Documents filed under seal shall remain under

           temporary seal in accordance with Local Rule 5.6 until further action of the

           Court pursuant to Local Rule 5.6. Any joint motion made pursuant to

           Local Rule 5.6 before United States Magistrate Judge Tony N. Leung

           shall conform to Exhibit A attached hereto. Counsel shall provide the

           Court with two courtesy copies of the unredacted documents with the

           redacted information highlighted in yellow.



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(b)   Nothing contained in this Protective Order shall preclude a party from

      showing any confidential documents to any third-party witnesses, either

      during a deposition or a trial, provided that:

      1. The actual or potential witness may not be given a copy of any confidential

      documents to take with him, her or them;

      2. The actual or potential witness shall be provided a copy of the Protective

      Order and be advised that it is applicable to him, her, or them. The actual or

      potential witness and his, her, or their attorney shall be informed that they

      are bound by the Protective Order, requiring that confidential documents be

      held in confidence and shall not disclose the confidential documents to

      anyone except as allowed under the terms of this Protective Order. The

      witness must agree on the record to abide by such terms or must sign the

      affirmation in paragraph 3(b)(8)(B);

      3. If the witness refuses to abide by the terms of the Protective Order and the

      party providing the confidential documents refuses to withdraw its assertion

      of confidentiality, the party seeking to use the confidential documents shall

      have the right to suspend the deposition and bring a motion before the Court

      seeking a ruling on the issue. The parties agree that the confidential

      documents in question shall not be used during the deposition pending a

      ruling from the Court; and



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       4. Nothing in this Protective Order shall be deemed to waive a party’s right

       to object to the presentation of confidential documents to third-party

       witnesses, or their right to seek relief from the Court before the confidential

       documents are presented to third-party witnesses.

(c)    In the event that any confidential documents are presented during a

       deposition or shown to a non-party or third-party witness, such documents or

       information shall not lose their confidential, non-public, or private status

       through such use.

(d)    Presentation at a hearing or trial.

       1. A party intending to present another party’s or a non-party’s confidential

       document, or information contained therein, at a hearing must notify and

       confer with the other party or the non-party at least 7 days before the

       hearing regarding what information will be presented so that the other party

       or the non-party may seek relief from the court if necessary.

       2. A party intending to present a party or a non-party’s confidential

       document at trial must notify the party or non-party simultaneously with the

       filing of exhibit lists for trial so that the party or non-party may seek relief

       from the court if necessary.

(e)    Nothing herein shall be construed to affect in any way any party’s right to

object to the admissibility of any document, information, testimony or other

evidence at trial.

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7.   Changing a Confidential Document’s Designation.

     (a)   Document disclosed or produced by a party. A confidential document

           disclosed or produced by a party remains confidential unless the parties

           agree to change its designation or the court orders otherwise.

     (b)   Document produced by a non-party. A confidential document produced by

           a non-party remains confidential unless the non-party agrees to change its

           designation or the court orders otherwise after providing an opportunity for

           the non-party to be heard.

     (c)   Changing a designation by court order. A party who cannot obtain agreement

           to change a designation may move the court for an order changing the

           designation. If the motion affects a document produced by a non-party then,

           with respect to the motion, that non-party is entitled to the same notice and

           opportunity to be heard as a party. The party or non-party who designated a

           document as confidential must show that the designation satisfies Fed. R.

           Civ. P. 26(c).

8.   Handling a Confidential Document after Termination of Litigation.

     (a)   Within 60 days after the termination of this action (including any appeals),

           each party must:

           (1)    return or destroy all confidential documents (and copies thereof); and




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           (2)    notify the disclosing or producing party that it has returned or

                  destroyed all confidential documents (and copies thereof) within the

                  60-day period.

     (b)   Notwithstanding paragraph 8(a), each attorney may retain a copy of any

           confidential document submitted to the court.

     (c)   No retained confidential documents or internal memoranda or notes

           discussing a confidential document may be disclosed or used for any other

           purpose other than for this action.

9.   Inadvertent Disclosure or Production to a Party of a Protected Document.

     (a)   Notice.

           (1)    A party or non-party who discovers that it has inadvertently disclosed

                  or produced a protected document must promptly notify the receiving

                  party and describe the basis of the claim of privilege or protection. If

                  the party or non-party provides such notice and description, the

                  privilege or protection is not waived.

           (2)    A party who discovers that it may have received an inadvertently

                  disclosed or produced protected document must promptly notify the

                  disclosing or producing party or non-party.

     (b)   Handling of Protected Document. A party who is notified or discovers that it

           may have received a protected document must comply with Fed. R. Civ. P.

           26(b)(5)(B).

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10.   Security Precautions and Data Breaches.

      (a)   Each party must make reasonable efforts to protect the confidentiality of any

            confidential document disclosed or produced to that party.

      (b)   A party who learns of a breach of confidentiality must promptly notify the

            disclosing or producing party of the scope and nature of that breach and make

            reasonable efforts to remedy the breach.

11.   General Provisions.

      (a)   The designation of any document, information, or thing as a confidential

            document under this Protective Order is for purposes of the Protective Order

            only and shall not be used for the purpose of interpreting other legal or

            substantive issues raised in this action apart from the application of the

            Protective Order.

      (b)   Any party may move the Court for a modification of the Protective Order,

            and nothing in the Protective Order shall be construed to prevent a party from

            seeking such further provision enhancing or limiting confidentiality as may

            be appropriate.

      (c)   No action taken in accordance with the Protective Order shall be construed

            as a waiver of any claim or defense in the action or of any position as to

            discoverability or admissibility of evidence.

      (d)   The obligations imposed by the Protective Order survive the termination of

            this action.

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12.   Prior Orders. All prior consistent orders remain in full force and effect.

13.   Remedies. Failure to comply with any provision of this Protective Order or

any other prior consistent order shall subject the non-complying party, non-

complying counsel and/or the party such counsel represents to any and all

appropriate remedies, sanctions and the like, including without limitation:

assessment of costs, fines and attorneys’ fees and disbursements; waiver of rights to

object; exclusion or limitation of witnesses, testimony, exhibits, and other evidence;

striking of pleadings; complete or partial dismissal with prejudice; entry of whole or

partial default judgment; and/or any other relief that this Court may from time to

time deem appropriate.




Date: May     12   , 2021                            s/ Tony N. Leung
                                              Tony N. Leung
                                              United States Magistrate Judge
                                              District of Minnesota


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